Case 1:21-cv-01015-JLH     Document 656 Filed 12/04/24 Page 1 of 63 PageID #:
                                     48891          Originally Filed: November 27, 2024
                                                        Redacted Version Filed: December 4, 2024

                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

NIPPON SHINYAKU CO., LTD.,                ) REDACTED - PUBLIC VERSION
                                          )
            Plaintiff,                    ) C.A. No. 21-1015 (JLH)
                                          )
      v.                                  )
                                          )
SAREPTA THERAPEUTICS, INC.,               )
                                          )
            Defendant.                    )
                                          )
 SAREPTA THERAPEUTICS, INC. and THE
                                          )
 UNIVERSITY OF WESTERN AUSTRALIA,
                                          )
                                          )
            Defendant/Counter-Plaintiffs, )
                                          )
      v.                                  )
                                          )
 NIPPON SHINYAKU CO., LTD.                )
 and NS PHARMA, INC.                      )
                                          )
            Plaintiff/Counter-Defendants. )


  SAREPTA’S LETTER TO THE HONORABLE JENNIFER L. HALL REGARDING
             RESPONSE TO NS’S MOTION TO STRIKE (D.I. 640)

                                        MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                        Jack B. Blumenfeld (#1014)
                                        Megan E. Dellinger (#5739)
                                        1201 North Market Street
OF COUNSEL:                             P.O. Box 1347
                                        Wilmington, DE 19899-1347
Charles E. Lipsey                       (302) 658-9200
J. Derek McCorquindale                  jblumenfeld@morrisnichols.com
Ryan P. O’Quinn                         mdellinger@morrisnichols.com
L. Scott Burwell
Jameson K. Gardner                      Attorneys for Defendant/Counter-Plaintiff
FINNEGAN, HENDERSON, FARABOW,           Sarepta Therapeutics, Inc and The University of
   GARRETT & DUNNER, LLP                Western Australia.
1875 Explorer Street, Suite 800
Reston, VA 20190-6023
(571) 203-2700
Case 1:21-cv-01015-JLH        Document 656 Filed 12/04/24       Page 2 of 63 PageID #:
                                        48892



William B. Raich                          Will Orlady
Michael J. Flibbert                       LATHAM & WATKINS LLP
John M. Williamson                        10250 Constellation Blvd., Suite 1100
Yoonhee Kim                               Los Angeles, CA 90067
Yoonjin Lee                               (424) 653-5500
Kaitlyn S. Pehrson
FINNEGAN, HENDERSON, FARABOW,             Michele D. Johnson
  GARRETT & DUNNER, LLP                   LATHAM & WATKINS LLP
901 New York Avenue, NW                   650 Town Center Drive, 20th Floor
Washington, DC 20001-4413                 Costa Mesa, CA 92626
(202) 408-4000                            (714) 540-1235

Alissa K. Lipton
FINNEGAN, HENDERSON, FARABOW,
  GARRETT & DUNNER, LLP
Two Seaport Lane
Boston, MA 02210-2001
(617) 646-1600

Amanda P. Reeves
Anna M. Rathbun
Graham B. Haviland
Michael A. Morin
David P. Frazier
Rebecca L. Rabenstein
Bornali Rashmi Borah
LATHAM & WATKINS LLP
555 Eleventh Street, NW, Suite 1000
Washington, D.C. 20004
(202) 637-2200

Ernest Yakob
Rachel Renee Blitzer
LATHAM & WATKINS LLP
1271 Avenue of the Americas
New York, NY 10020
(212) 906-1200

Michele D. Johnson
LATHAM & WATKINS LLP
650 Town Center Drive, 20th Floor
Costa Mesa, CA 92626
(714) 540-1235

November 27, 2024
Case 1:21-cv-01015-JLH          Document 656 Filed 12/04/24             Page 3 of 63 PageID #:
                                          48893



Dear Judge Hall:

We write on behalf of Sarepta Therapeutics, Inc. (“Sarepta”) and the University of Western
Australia (“UWA”) in response to Plaintiff/Counter-Defendant Nippon Shinyaku Co., Ltd.’s and
Counter-Defendant NS Pharma, Inc.’s (collectively, “NS”) Motion to Strike (D.I. 640) and
supporting Letter Brief (D.I. 641). For the reasons below, the Court should deny NS’s unjustified
request to strike and exclude ¶¶ 14-20 of John Jarosz’s Second Supplemental Expert Report.
I.     THE CHALLENGED PARAGRAPHS OFFER NO NEW OPINIONS
Contrary to NS’s arguments, Mr. Jarosz offers no new opinions in the challenged paragraphs.
Those paragraphs are not legal opinions, or “opinions” at all—they instead provide context for Mr.
Jarosz’s damages opinions, including those expressed in ¶¶ 21-22, which NS has not moved to
strike. Mr. Jarosz identifies and summarizes the agreements he considered in forming his ultimate
damages opinions, including how they informed the assumptions on which he necessarily relied
for those opinions. But Mr. Jarosz does not stray into legal interpretation; he merely explains his
understanding of the facial terms of the agreements and how that relates to his ultimate damages
opinions.1 Id. at ¶¶ 17-22 (explaining how Sarepta understands the agreements to operate and his
“understand[ing of] Counter-Defendants’ theory” to the contrary, both of which are accounted for
in his calculations). Such background is not only acceptable but is a necessary and common
practice for damages experts. Shelton v. Apex Surgical, LLC, No. CIV-08-01087-HE, 2009 WL
10672608, at *4 (W.D. Okla. Nov. 12, 2009) (“There is, of course, nothing wrong with a damages
expert . . . making certain assumptions upon which further calculations are based.”).
In fact, both Mr. Jarosz and NS’s damages expert, Mark Hosfield, included similar context for the
other agreements considered in their earlier reports in this case. See, e.g., Ex. B at 21

23                                                                   30-31


           ; Ex. C at ¶¶ 140
                                              ), 143

                                                                             .
NS’s arguments that Mr. Jarosz offers opinions about the legal operation of the
             and “improperly interprets contractual terms” hold no water. D.I. 641 at 1. Nowhere
in the cited paragraphs does Mr. Jarosz express any opinions on the operation of the agreements.
Thus, there are no opinions to exclude. XY, LLC v. Trans Ova Genetics, LC, No. 13-CV-0876-
WJM-NYW, 2016 WL 97788, at *6–7 (D. Colo. Jan. 8, 2016) (declining to exclude statements
from a damages expert report “stating assumptions or data on which [the expert] relied in
calculating the scope of damages” but excluding the statement “it is my opinion that [the

1
  Sarepta made clear in connection with the meet-and-confer process preceding NS’s request that
Mr. Jarosz was not offering any opinions on contract interpretation, and offered to amend the
language of Mr. Jarosz’s report to the extent NS believed it needed to be clarified. NS rejected
Sarepta’s offer sight unseen and filed this motion hours later. Ex. A.
Case 1:21-cv-01015-JLH           Document 656 Filed 12/04/24             Page 4 of 63 PageID #:
                                           48894
The Honorable Jennifer L. Hall
November 27, 2024
defendant] was in breach”). Other courts have found that similar language in the context of a
damages report is not only acceptable, but necessary for the expert to form his or her ultimate
opinions. Rowe v. DPI Specialty Foods, Inc., No. 2:13-CV-00708-DN-DJF, 2015 WL 4949097, at
*5 (D. Utah Aug. 19, 2015), aff’d in part, 727 F. App’x 488 (10th Cir. 2018) (“it is necessarily the
role of a damages expert to offer an opinion based only on assumptions because . . . [u]ntil a jury
has found facts to resolve the factual issues presented to them, an expert has nothing other than
assumptions on which economic analysis may be based.”). Mr. Jarosz’s statements providing
context and explaining his assumptions are both acceptable and expected. NS will have the
opportunity to cross-examine Mr. Jarosz as to the basis for his understanding of the agreements.
See XY, LLC, 2016 WL 97788, at *6–7 (denying motion to exclude “assumptions or data on which
[the damages expert] relied in calculating the scope of damages, not [] his own claim to definitive
interpretations of the License Agreement” and noting that the expert “will be subject to cross-
examination”). NS’s request to exclude these statements should be denied.
Ironically, NS’s own expert, Mr. Hosfield, made analogous updates based on new NS documents.
Subsequent to the production of the                     , on May 8, 2024, NS produced
        evidence that NS apparently believes supports its damages positions. In his November 12
Second Supplemental Expert Report, Mr. Hosfield addressed that evidence, as well as evidence
produced earlier but about which he had not previously opined. See Ex. D at 1 n.1. Notably, Mr.
Hosfield did not limit his comments to his understanding of the documents, but went as far as
opining that

           Id. Sarepta is not seeking to strike this portion of Mr. Hosfield’s recent report; Sarepta
will deal with it through cross examination at trial. NS should do the same.
II.    EXCLUSION IS NOT WARRANTED ON THESE FACTS
Contrary to NS’s representations, Mr. Jarosz’s statements describing his understanding of the
relevant agreements and his resulting assumptions are no surprise and do not prejudice NS.
Sarepta’s position, which is the basis for Mr. Jarosz’s statements, was identified in May 2024,
during the parties’ dispute over these agreements. See D.I. 568; D.I. 572. Since then, NS has had
every opportunity to pursue the discovery to which it now says it is entitled. Evaluating the
governing Pennypack factors establishes that exclusion is not warranted.
Factor 1 (prejudice or surprise): NS has suffered no prejudice or surprise. First, NS argues that
it has not had the opportunity to take fact discovery on the relevant agreements and issues, or of
Peter Walsh. But NS has known about these documents and positions, including the information
described in Mr. Walsh’s declaration, since May. See D.I. 572. And it is routine for damages
experts to speak with employees of the parties to gain understanding of corporate practices without
those employees becoming witnesses; indeed, Mr. Hosfield did so. See Ex. B at 5 (identifying
discussions with                                   , neither of whom were deposed or identified as
witnesses in this case). When, as here, a party decides against taking discovery, it cannot later
claim surprise and prejudice. Bayer HealthCare LLC v. Baxalta Inc., No. 16-1122-RGA, 2019 WL
297039, at *2 (no substantial prejudice when movant’s expert was able to consider the later-
produced documents and movant had the opportunity to conduct relevant fact discovery, but
refused); DeMarines v. KLM Royal Dutch Airlines, 580 F.2d 1193, 1202 (3d Cir. 1978) (no
substantial prejudice when movant was aware of the basic substance of the witness’s testimony).
Moreover, although NS objects that Mr. Jarosz’s supplementation improperly exceeded the scope


                                                 2
Case 1:21-cv-01015-JLH           Document 656 Filed 12/04/24            Page 5 of 63 PageID #:
                                           48895
The Honorable Jennifer L. Hall
November 27, 2024
of “supplemental financial information,” it ignores that NS itself insisted, in a footnote to the
parties’ proposed amended schedule, to make the supplemental reports “[s]ubject to resolution of
the issues raised by Nippon Shinyaku and NS Pharma’s Letter Brief Regarding Late Produced
Licensing and No Lost Profits (D.I. 568) and Sarepta’s response (D.I. 572).” See D.I. 597.

            Ex. E at 2-4, 14-19; D.I. 641-1 at ¶¶ 21-22. These calculations make no sense except in
the context of the relevant agreements and the parties’ positions. Accordingly, not only did NS
provide for discussion of these issues in the supplemental damages expert reports, it took
advantage of the chance to do so. Additionally, although NS claims to be prejudiced by lack of
“opportunity to take discovery relating to                                         ” (which it chose
not to pursue) and that Mr. Jarosz’s opinion somehow “backdoor[s]” that evidence, NS fails to
mention NS’s own newly produced                   evidence or Mr. Hosfield’s addressing of
for the first time in his Second Supplemental Expert Report.
Factors 2 (ability to cure) and 3 (orderly and efficient trial): As explained above, NS had the
opportunity to cure any possible prejudice through additional discovery, but chose not to pursue it
in the supplemental scheduling order or thereafter during the ensuing six months of additional
supplemental discovery. NS cannot now claim that Mr. Jarosz’s consideration of the contents and
existence of these agreements would disrupt trial. NS will have the opportunity to address the
agreements, related positions, and Mr. Jarosz’s ultimate damages opinions at trial. See Bayer
HealthCare, 2019 WL 297039 at *2 (finding the second factor weighed against exclusion and the
third factor was neutral when movant’s expert was able to consider the later-produced documents,
movant refused the opportunity to conduct relevant fact discovery, and movant would have the
opportunity to address the documents and related issues at trial).
Factor 4 (bad faith/willfulness): Courts reserve finding willfulness or bad faith for “clear,
egregious examples of misconduct.” Glaxosmithkline LLC v. Glenmark Pharms. Inc., No. 14-877-
LPS-CJB, 2017 WL 11685418, at *10 (D. Del. Jan. 20, 2017). There is no such misconduct here.
Sarepta complied with the supplemental scheduling order—proposed by NS—diligently and in
good faith. NS argues that Sarepta should have sought further discovery or take some other,
undefined action in response to NS’s “concerns,” but it was plainly NS’s obligation to request any
discovery it believed necessary. NS now asks this court to penalize Sarepta for NS’s own decision
not to seek discovery.
Factor 5 (importance): The fifth Pennypack factor “is often the most significant factor” in the
analysis. See, e.g., ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 298 (3d Cir. 2012) (citation
omitted). Expert testimony is necessary to establish damages in this case. The paragraphs identified
in Mr. Jarosz’s report identify the source of his assumptions upon which his ultimate damages
opinions are based. For the factfinder here—the jury—these statements provide important context
and should not be excluded. Masimo Corp. v. Philips Elec. N. Am. Corp., No. 09-80-LPS-MPT,
2016 WL 4394359, at *1 (D. Del. Aug. 15, 2016) (fifth factor weighs against exclusion when
expert testimony would assist the jury); Taylor v. S.E. Penn. Transp. Auth., No. CV 23-2140-KSM,
2024 WL 3205209, at *9 (E.D. Pa. June 27, 2024) (fifth factor weighs against exclusion when
expert testimony would provide “important context for the jury”).
Mr. Jarosz’s statements are contextual and substantially justified. Thus, no exclusion is warranted
under Rule 37(c)(1).



                                                 3
Case 1:21-cv-01015-JLH           Document 656 Filed 12/04/24         Page 6 of 63 PageID #:
                                           48896
The Honorable Jennifer L. Hall
November 27, 2024
                                            Respectfully,

                                            /s/ Megan E. Dellinger

                                            Megan E. Dellinger (#5739)

MED/rah

cc:    Clerk of the Court (via hand delivery)
       All Counsel of Record (via electronic mail)




                                               4
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 7 of 63 PageID #:
                                   48897




                  EXHIBIT A
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 8 of 63 PageID #:
                                   48898
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 9 of 63 PageID #:
                                   48899
Case 1:21-cv-01015-JLH           Document 656 Filed 12/04/24               Page 10 of 63 PageID #:
                                           48900

D: +1.202.637.2353 | M: +1.202.803.1415 | Bio


From: Williamson, Amanda S. <amanda.williamson@morganlewis.com>
Sent: Thursday, November 21, 2024 6:04 PM
To: Rabenstein, Reba (DC) <Rebecca.Rabenstein@lw.com>; Sikora, Michael T.
<michael.sikora@morganlewis.com>; JBlumenfeld@morrisnichols.com; BChard@morrisnichols.com;
charles.lipsey@finnegan.com; William.Raich@finnegan.com; Alissa.Lipton@finnegan.com; Morin, Mike
(DC) <Michael.Morin@lw.com>; Frazier, David (DC) <David.Frazier@lw.com>; Yakob, Ernest (NY)
<Ernest.Yakob@lw.com>; mdellinger@morrisnichols.com; Derek.McCorquindale@finnegan.com;
michael.flibbert@finnegan.com; Yoonhee.Kim@finnegan.com; Yoonjin.Lee@finnegan.com;
Ryan.O'Quinn@finnegan.com; scott.burwell@finnegan.com; John.Williamson@finnegan.com;
Kaitlyn.Pehrson@finnegan.com; Reeves, Mandy (DC) <Amanda.Reeves@lw.com>; Rathbun, Anna (DC)
<Anna.Rathbun@lw.com>; Haviland, Graham (DC) <Graham.Haviland@lw.com>; Cremer, John (DC)
<John.Cremer@lw.com>; Orlady, Will (CC) <Will.Orlady@lw.com>; Borah, Rashmi (DC)
<Rashmi.Borah@lw.com>; Johnson, Michele (OC) <michele.johnson@lw.com>;
John.Kozikowski@finnegan.com; #C-M Sarepta - Nippon - LW TEAM
<SareptaNippon.LWTEAM@lw.com>
Cc: NS District Court <NSDistrictCourt@morganlewis.com>
Subject: RE: NS/Sarepta, No. 1:21-cv-01015-JLH - Follow-Up To Yesterday's Meet and Confer

Reba,

That works for us. I will send a meeting invite to you Meagan. Please distribute amongst the relevant
members of your team.

Regards,
Amanda

Amanda S. Williamson
Morgan, Lewis & Bockius LLP
110 North Wacker Drive, Suite 2800 | Chicago, IL 60606-1511
Direct: +1.312.324.1450 | Main: +1.312.324.1000 | Fax: +1.312.324.1001
Assistant: Eman Abulhab | +1.312.324.1455 | eman.abulhab@morganlewis.com
amanda.williamson@morganlewis.com | www.morganlewis.com



From: Rebecca.Rabenstein@lw.com <Rebecca.Rabenstein@lw.com>
Sent: Thursday, November 21, 2024 4:16 PM
To: Williamson, Amanda S. <amanda.williamson@morganlewis.com>; Sikora, Michael T.
<michael.sikora@morganlewis.com>; JBlumenfeld@morrisnichols.com; BChard@morrisnichols.com;
charles.lipsey@finnegan.com; William.Raich@finnegan.com; Alissa.Lipton@finnegan.com;
Michael.Morin@lw.com; David.Frazier@lw.com; Ernest.Yakob@lw.com;
mdellinger@morrisnichols.com; Derek.McCorquindale@finnegan.com; michael.flibbert@finnegan.com;
Yoonhee.Kim@finnegan.com; Yoonjin.Lee@finnegan.com; Ryan.O'Quinn@finnegan.com;
scott.burwell@finnegan.com; John.Williamson@finnegan.com; Kaitlyn.Pehrson@finnegan.com;
Amanda.Reeves@lw.com; Anna.Rathbun@lw.com; Graham.Haviland@lw.com; John.Cremer@lw.com;
Will.Orlady@lw.com; Rashmi.Borah@lw.com; michele.johnson@lw.com;
Case 1:21-cv-01015-JLH             Document 656 Filed 12/04/24          Page 11 of 63 PageID #:
                                             48901

John.Kozikowski@finnegan.com; SareptaNippon.LWTEAM@lw.com
Cc: NS District Court <NSDistrictCourt@morganlewis.com>
Subject: RE: NS/Sarepta, No. 1:21-cv-01015-JLH - Follow-Up To Yesterday's Meet and Confer

[EXTERNAL EMAIL]
Amanda,

Further to your request below, we are available tomorrow morning at 10 am Eastern / 9 am Central to
meet and confer about your proposed letter motion to strike. Please send us dial-in information.

Best,
Reba

Rebecca (Reba) L. Rabenstein, Ph.D.
Pronouns: She/Her/Hers

LATHAM & WATKINS LLP
555 Eleventh Street, NW | Suite 1000 | Washington, D.C. 20004-1304
D: +1.202.637.2353 | M: +1.202.803.1415 | Bio


From: Williamson, Amanda S. <amanda.williamson@morganlewis.com>
Sent: Thursday, November 21, 2024 11:07 AM
To: Rabenstein, Reba (DC) <Rebecca.Rabenstein@lw.com>; Sikora, Michael T.
<michael.sikora@morganlewis.com>; JBlumenfeld@morrisnichols.com; BChard@morrisnichols.com;
charles.lipsey@finnegan.com; William.Raich@finnegan.com; Alissa.Lipton@finnegan.com; Morin, Mike
(DC) <Michael.Morin@lw.com>; Frazier, David (DC) <David.Frazier@lw.com>; Yakob, Ernest (NY)
<Ernest.Yakob@lw.com>; mdellinger@morrisnichols.com; Derek.McCorquindale@finnegan.com;
michael.flibbert@finnegan.com; Yoonhee.Kim@finnegan.com; Yoonjin.Lee@finnegan.com;
Ryan.O'Quinn@finnegan.com; scott.burwell@finnegan.com; John.Williamson@finnegan.com;
Kaitlyn.Pehrson@finnegan.com; Reeves, Mandy (DC) <Amanda.Reeves@lw.com>; Rathbun, Anna (DC)
<Anna.Rathbun@lw.com>; Haviland, Graham (DC) <Graham.Haviland@lw.com>; Cremer, John (DC)
<John.Cremer@lw.com>; Orlady, Will (CC) <Will.Orlady@lw.com>; Borah, Rashmi (DC)
<Rashmi.Borah@lw.com>; Johnson, Michele (OC) <michele.johnson@lw.com>;
John.Kozikowski@finnegan.com; #C-M Sarepta - Nippon - LW TEAM
<SareptaNippon.LWTEAM@lw.com>
Cc: NS District Court <NSDistrictCourt@morganlewis.com>
Subject: RE: NS/Sarepta, No. 1:21-cv-01015-JLH - Follow-Up To Yesterday's Meet and Confer

Reba,

Attached.

Amanda

Amanda S. Williamson
Morgan, Lewis & Bockius LLP
110 North Wacker Drive, Suite 2800 | Chicago, IL 60606-1511
Case 1:21-cv-01015-JLH           Document 656 Filed 12/04/24               Page 12 of 63 PageID #:
                                           48902

Direct: +1.312.324.1450 | Main: +1.312.324.1000 | Fax: +1.312.324.1001
Assistant: Eman Abulhab | +1.312.324.1455 | eman.abulhab@morganlewis.com
amanda.williamson@morganlewis.com | www.morganlewis.com



From: Rebecca.Rabenstein@lw.com <Rebecca.Rabenstein@lw.com>
Sent: Thursday, November 21, 2024 8:38 AM
To: Williamson, Amanda S. <amanda.williamson@morganlewis.com>; Sikora, Michael T.
<michael.sikora@morganlewis.com>; JBlumenfeld@morrisnichols.com; BChard@morrisnichols.com;
charles.lipsey@finnegan.com; William.Raich@finnegan.com; Alissa.Lipton@finnegan.com;
Michael.Morin@lw.com; David.Frazier@lw.com; Ernest.Yakob@lw.com;
mdellinger@morrisnichols.com; Derek.McCorquindale@finnegan.com; michael.flibbert@finnegan.com;
Yoonhee.Kim@finnegan.com; Yoonjin.Lee@finnegan.com; Ryan.O'Quinn@finnegan.com;
scott.burwell@finnegan.com; John.Williamson@finnegan.com; Kaitlyn.Pehrson@finnegan.com;
Amanda.Reeves@lw.com; Anna.Rathbun@lw.com; Graham.Haviland@lw.com; John.Cremer@lw.com;
Will.Orlady@lw.com; Rashmi.Borah@lw.com; michele.johnson@lw.com;
John.Kozikowski@finnegan.com; SareptaNippon.LWTEAM@lw.com
Cc: NS District Court <NSDistrictCourt@morganlewis.com>
Subject: RE: NS/Sarepta, No. 1:21-cv-01015-JLH - Follow-Up To Yesterday's Meet and Confer

[EXTERNAL EMAIL]
Amanda,

We noticed that the draft pretrial order cover pleading that you sent us appears to have some internal
comments from/to your team. As such, we are deleting the draft that you sent us last night.

Can you please send us a revised version without those comments in it? Please send it as quickly as you
can so that we have time to make our counter edits before the deadline to file tomorrow.

Best,
Reba

Rebecca (Reba) L. Rabenstein, Ph.D.
Pronouns: She/Her/Hers

LATHAM & WATKINS LLP
555 Eleventh Street, NW | Suite 1000 | Washington, D.C. 20004-1304
D: +1.202.637.2353 | M: +1.202.803.1415 | Bio


From: Williamson, Amanda S. <amanda.williamson@morganlewis.com>
Sent: Wednesday, November 20, 2024 10:37 PM
To: Rabenstein, Reba (DC) <Rebecca.Rabenstein@lw.com>; Sikora, Michael T.
<michael.sikora@morganlewis.com>; JBlumenfeld@morrisnichols.com; BChard@morrisnichols.com;
charles.lipsey@finnegan.com; William.Raich@finnegan.com; Alissa.Lipton@finnegan.com; Morin, Mike
(DC) <Michael.Morin@lw.com>; Frazier, David (DC) <David.Frazier@lw.com>; Yakob, Ernest (NY)
<Ernest.Yakob@lw.com>; mdellinger@morrisnichols.com; Derek.McCorquindale@finnegan.com;
michael.flibbert@finnegan.com; Yoonhee.Kim@finnegan.com; Yoonjin.Lee@finnegan.com;
Case 1:21-cv-01015-JLH           Document 656 Filed 12/04/24               Page 13 of 63 PageID #:
                                           48903

Ryan.O'Quinn@finnegan.com; scott.burwell@finnegan.com; John.Williamson@finnegan.com;
Kaitlyn.Pehrson@finnegan.com; Reeves, Mandy (DC) <Amanda.Reeves@lw.com>; Rathbun, Anna (DC)
<Anna.Rathbun@lw.com>; Haviland, Graham (DC) <Graham.Haviland@lw.com>; Cremer, John (DC)
<John.Cremer@lw.com>; Orlady, Will (CC) <Will.Orlady@lw.com>; Borah, Rashmi (DC)
<Rashmi.Borah@lw.com>; Johnson, Michele (OC) <michele.johnson@lw.com>;
John.Kozikowski@finnegan.com; #C-M Sarepta - Nippon - LW TEAM
<SareptaNippon.LWTEAM@lw.com>
Cc: NS District Court <NSDistrictCourt@morganlewis.com>
Subject: RE: NS/Sarepta, No. 1:21-cv-01015-JLH - Follow-Up To Yesterday's Meet and Confer

Reba,

Attached are NS and NS Pharma’s revisions to the PTO and supporting documents shown in redline.
Please let me know if there are any documents that require further revisions and that are not attached
here.

Are you available to meet and confer on NS’s motion to strike Jarozs’s testimony either before or after
our meet and confer on Thursday or Friday morning?

Best regards,
Amanda

Amanda S. Williamson
Morgan, Lewis & Bockius LLP
110 North Wacker Drive, Suite 2800 | Chicago, IL 60606-1511
Direct: +1.312.324.1450 | Main: +1.312.324.1000 | Fax: +1.312.324.1001
Assistant: Eman Abulhab | +1.312.324.1455 | eman.abulhab@morganlewis.com
amanda.williamson@morganlewis.com | www.morganlewis.com



From: Rebecca.Rabenstein@lw.com <Rebecca.Rabenstein@lw.com>
Sent: Monday, November 18, 2024 3:42 PM
To: Williamson, Amanda S. <amanda.williamson@morganlewis.com>; Sikora, Michael T.
<michael.sikora@morganlewis.com>; JBlumenfeld@morrisnichols.com; BChard@morrisnichols.com;
charles.lipsey@finnegan.com; William.Raich@finnegan.com; Alissa.Lipton@finnegan.com;
Michael.Morin@lw.com; David.Frazier@lw.com; Ernest.Yakob@lw.com;
mdellinger@morrisnichols.com; Derek.McCorquindale@finnegan.com; michael.flibbert@finnegan.com;
Yoonhee.Kim@finnegan.com; Yoonjin.Lee@finnegan.com; Ryan.O'Quinn@finnegan.com;
scott.burwell@finnegan.com; John.Williamson@finnegan.com; Kaitlyn.Pehrson@finnegan.com;
Amanda.Reeves@lw.com; Anna.Rathbun@lw.com; Graham.Haviland@lw.com; John.Cremer@lw.com;
Will.Orlady@lw.com; Rashmi.Borah@lw.com; michele.johnson@lw.com;
John.Kozikowski@finnegan.com; SareptaNippon.LWTEAM@lw.com
Cc: NS District Court <NSDistrictCourt@morganlewis.com>
Subject: RE: NS/Sarepta, No. 1:21-cv-01015-JLH - Follow-Up To Yesterday's Meet and Confer

[EXTERNAL EMAIL]
Amanda,
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 14 of 63 PageID #:
                                   48904




                  EXHIBIT B
Case 1:21-cv-01015-JLH    Document 656 Filed 12/04/24           Page 15 of 63 PageID #:
                                    48905




                          UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE
                              Case No. 1:21-cv-01015-GBW
        _____________________________________________________________________


                            NIPPON SHINYAKU CO., LTD.,
                                        Plaintiff,
                                           v.
                           SAREPTA THERAPEUTICS, INC.,
                                       Defendant.
        _____________________________________________________________________


      SAREPTA THERAPEUTICS, INC. and THE UNIVERSITY OF WESTERN AUSTRALIA,
                            Defendant and Counter-Plaintiffs,
                                           v.
                  NIPPON SHINYAKU CO., LTD., and NS PHARMA, INC.,
                            Plaintiff and Counter-Defendants.
        _____________________________________________________________________


                         EXPERT REPORT AND DISCLOSURE OF
                                 MARK J. HOSFIELD


                              Submitted September 8, 2023

               HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
Case 1:21-cv-01015-JLH                                  Document 656                     Filed 12/04/24                   Page 16 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48906
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


                                                                          Table of Contents


I.         Background and Experience ........................................................................................................................1
II.        Scope of Retention .......................................................................................................................................1
III. Information Relied Upon .............................................................................................................................3
IV. Background Information ..............................................................................................................................6
      A.         Relevant Parties .......................................................................................................................................6
           i.       NS Japan ..............................................................................................................................................7
           ii.      NS Pharma ...........................................................................................................................................8
           iii. Sarepta..................................................................................................................................................8
           iv. UWA ..................................................................................................................................................10
      B.         DMD Background..................................................................................................................................10
           i.       VILTEPSO .........................................................................................................................................16
           ii.      VYONDYS 53 ...................................................................................................................................18
      C.         The NS Patents-in-Suit...........................................................................................................................20
      D.         NS Japan Agreements Related to VILTEPSO .......................................................................................20
           i.                                                                                       ........................................................................21
           ii.                                                                                           ...................................................................22
           iii.                                                                                                                  ..........................................23
           iv.                                                                           ...................................................................................25
           v.                                                                            ...................................................................................25
           vi.                                                                                                                                                            .26
           vii.                                                                                                                                                   .........29
      E.         Sarepta Agreements Related to VYONDYS 53.....................................................................................31
           i.       UWA / Sarepta Exclusive License Agreement – November 24, 2008 ..............................................31
           ii.      UWA / Sarepta Amended and Restated Exclusive License Agreement – April 10, 2013 .................34
           iii. UWA / Sarepta Amendment to License Agreement – June 19, 2016 ................................................37
           iv.
                                                             ................................................................................................................39
           v.
                                                                                                                           ................................................42
           vi.                                                                                                                               ..............................48


HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
Case 1:21-cv-01015-JLH                                  Document 656                      Filed 12/04/24                   Page 17 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48907
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


          vii.                                                                                                                                         .....................48
     F.         Other Sarepta and NS Japan Agreements ..............................................................................................49
          i.
                                          ....................................................................................................................................49
          ii.
                                        ......................................................................................................................................52
V.        Summary of Opinions ................................................................................................................................56
VI. Basis and Reasoning – Patent Infringement...............................................................................................59
     A.         Lost Profits .............................................................................................................................................59
          i.       Panduit Factor #1: Demand for the Patented Product .......................................................................61
          ii.      Panduit factor #2: Absence of Acceptable Non-Infringing Substitutes .............................................63
          iii. Panduit Factor #3: Manufacturing and Marketing Capability to Exploit Demand............................67
          iv. Panduit Factor #4: Amount of Profit that the Patentee would have Made Absent the Infringement 72
     B.         Reasonable Royalty ...............................................................................................................................82
          i.       Date of, and Parties to, the Hypothetical Negotiation ........................................................................82
          ii.      Damages Period and Royalty Base ....................................................................................................85
          iii. Royalty Structure ...............................................................................................................................88
          iv. Royalty - Georgia-Pacific Factor Analysis........................................................................................89
VII. Breach of Contract Damages ...................................................................................................................107
VIII.Prejudgment Interest ................................................................................................................................108
IX. Total Damages .........................................................................................................................................108




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
Case 1:21-cv-01015-JLH              Document 656           Filed 12/04/24        Page 18 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48908
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


                                       Table of Exhibits and Appendices


Exhibit 1:                Curriculum Vitae of Mark J. Hosfield
Exhibit 2:                Index to Documents Considered in Forming Opinions
Exhibit 3A:               Lost Profits (U.S. Paid and Free Units) and Reasonable Royalty Damages
Exhibit 3B:               Lost Profits (U.S. Paid Units Only) and Reasonable Royalty Damages
Exhibit 4:                Reasonable Royalty Only Damages
Exhibit 5:                NS Pharma Incremental Profit Calculation
Exhibit 6:                NS Japan Profit Per Unit Calculation
Exhibit 7:




Appendix A:               VILTEPSO Sales & Profits
Appendix B:               VYONDYS 53 Sales & Profits




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
Case 1:21-cv-01015-JLH              Document 656            Filed 12/04/24         Page 19 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48909
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


I.      Background and Experience

I am currently a Managing Director at Stout. I was previously a Partner at Coopers & Lybrand, Arthur
Andersen, KPMG LLP and, most recently, was a founding Principal of Davis & Hosfield Consulting LLC.
Since 1987, I have focused on providing consulting and expert witness assistance to clients in commercial
disputes. Prior to that, I gained financial management and operational experience as both a Controller and
Vice President of Finance of a corporation, as well as in the consulting practice at Coopers & Lybrand. I am a
certified public accountant and certified management accountant. I have also taught accounting classes and
have lectured on finance and accounting topics.


I have performed a variety of economic, business, and financial analyses on behalf of clients in disputes,
including breach of contract, lost profits, trademark and patent infringement, business valuation, construction
cost and delay claims, lender liability, post-acquisition, computer software failure, economic damages in
personal injury, wrongful death, employment discrimination and wrongful termination, and financial
misrepresentation. I have testified as an expert witness at deposition and trial in both state and federal courts,
as well as at arbitrations.


A complete description of my background and qualifications is set forth in my curriculum vitae and list of
testimony, which is attached as Exhibit 1.


II.     Scope of Retention

The above-referenced matter relates to, among other things, patent infringement allegations made by Nippon
Shinyaku Co., Ltd. (“NS Japan”) against Sarepta Therapeutics, Inc. (“Sarepta”) of the following patents, each
entitled “Antisense Nucleic Acids:”1


1
 Second Amended Complaint for Breach of Contract, Declaratory Judgment of Patent Invalidity, and Patent
Infringement, dated January 14, 2022, pp. 2 and 24-37; Nippon Shinyaku Co. Ltd.’s Amended Final Infringement
Contentions, dated July 27, 2023, p. 2; Memorandum Opinion, dated July 3, 2023, p. 2; U.S. Patent No. 10,385,092
entitled “Antisense Nucleic Acids,” issued August 20, 2019; U.S. Patent No. 10,407,461 entitled “Antisense Nucleic
Acids,” issued September 10, 2019; U.S. Patent No. 10,487,106 entitled “Antisense Nucleic Acids,” issued
November 26, 2019; U.S. Patent No. 10,647,741 entitled “Antisense Nucleic Acids,” issued May 12, 2020; U.S. Patent
No. 10,662,217 entitled “Antisense Nucleic Acids,” issued May 26, 2020; U.S. Patent No. 10,683,322 entitled
“Antisense Nucleic Acids,” issued June 16, 2020. NS Japan had previously asserted U.S. Patent No. 9,708,361 entitled
“Antisense Nucleic Acids,” issued July 18, 2017 (see Second Amended Complaint for Breach of Contract, Declaratory
Judgment of Patent Invalidity, and Patent Infringement, dated January 14, 2022, pp. 2 and 22-24). I understand that NS
Japan has subsequently withdrawn its infringement allegations as it relates to that patent.


HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                          Page 1 of 110
Case 1:21-cv-01015-JLH              Document 656           Filed 12/04/24        Page 20 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48910
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.



    




Other
    




                                                .


We have also held discussions with the following individuals:


NS Japan/NS Pharma
    




In addition, we also spoke with Jonathan Strober, M.D., NS Japan’s technical expert.




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 5 of 110
Case 1:21-cv-01015-JLH                Document 656           Filed 12/04/24        Page 21 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48911
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


                    C. The NS Patents-in-Suit

The NS patents-in-suit are jointly owned by NS Japan and NCNP, 112 and all trace back to
PCT/JP2011/070318, which was filed on August 31, 2011, and which claims priority to Japanese Patent
Application No. 2010-196032, which was filed on September 1, 2010.113 The NS patents-in-suit “generally
relate to a morpholino antisense oligomer that induces skipping of exon 53 of the human dystrophin gene to
treat [DMD].”114 According to the NS patents-in-suit, “[a]s a result of detailed studies of the structure of the
dystrophin gene, the present inventors have found that exon 53 skipping can be induced with a high efficiency
by targeting [a particular sequence] in the dystrophin gene with antisense oligomers.” 115 “The antisense
oligomer of the [] invention can induce exon 53 skipping in the human dystrophin gene with a high
efficiency. In addition, the symptoms of [DMD] can be effectively alleviated by administering the
pharmaceutical composition of the [] invention.”116


NS Japan has asserted three types of claims against Sarepta: product claims (the ’092 patent, the ’461 patent,
and the ’106 patent); method of use claims (the ’741 patent and the ’217 patent); and method of making
claims (the ’322 patent).117


                    D. NS Japan Agreements Related to VILTEPSO

NS Japan has entered into several agreements related to the distribution and sale of VILTEPSO, which I
discuss in detail below.


112



113
   U.S. Patent No. 10,385,092 entitled “Antisense Nucleic Acids,” issued August 20, 2019 (Cross Reference to Related
Applications); U.S. Patent No. 10,407,461 entitled “Antisense Nucleic Acids,” issued September 10, 2019 (Cross
Reference to Related Applications); U.S. Patent No. 10,487,106 entitled “Antisense Nucleic Acids,” issued November
26, 2019 (Cross Reference to Related Applications); U.S. Patent No. 10,647,741 entitled “Antisense Nucleic Acids,”
issued May 12, 2020 (Cross Reference to Related Applications); U.S. Patent No. 10,662,217 entitled “Antisense Nucleic
Acids,” issued May 26, 2020 (Cross Reference to Related Applications); U.S. Patent No. 10,683,322 entitled “Antisense
Nucleic Acids,” issued June 16, 2020 (Cross Reference to Related Applications).
114
      Memorandum Opinion, dated July 3, 2023, p. 2.
115
   See, for example, U.S. Patent No. 10,385,092 entitled “Antisense Nucleic Acids,” issued August 20, 2019 (Disclosure
of the Invention).
116
   See, for example, U.S. Patent No. 10,385,092 entitled “Antisense Nucleic Acids,” issued August 20, 2019 (Disclosure
of the Invention).
117
      Nippon Shinyaku Co. Ltd.’s Amended Final Infringement Contentions, dated July 27, 2023, p. 2


HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                         Page 20 of 110
Case 1:21-cv-01015-JLH              Document 656           Filed 12/04/24        Page 22 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48912
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


                         i.

As noted above,                                                     . These parties are subject to an agreement
whereby                                                                                      . 118 According to the
terms of the agreement
                                                                                      119
                                                                                            NS Japan would also


                                                                                                    . 120
                                             ”121
                                                                                             122




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                             Page 21 of 110
Case 1:21-cv-01015-JLH              Document 656            Filed 12/04/24       Page 23 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48913
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.




According to the agreement,


                                                                                                          This
agreement also noted that


                                                The parties also noted that


                                                                         .125


                       ii.

In November 2020,
                                                               Under the terms of this memorandum,




                                         As it relates to                                                             ,




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 22 of 110
Case 1:21-cv-01015-JLH              Document 656           Filed 12/04/24        Page 24 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48914
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.




                       iii.

Effective April 1, 2020,




128




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 23 of 110
Case 1:21-cv-01015-JLH              Document 656           Filed 12/04/24        Page 25 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48915
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.




135




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 24 of 110
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 26 of 63 PageID #:
                                   48916
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 27 of 63 PageID #:
                                   48917
Case 1:21-cv-01015-JLH              Document 656           Filed 12/04/24        Page 28 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48918
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 27 of 110
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 29 of 63 PageID #:
                                   48919
Case 1:21-cv-01015-JLH              Document 656           Filed 12/04/24        Page 30 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48920
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


                      vii.




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 29 of 110
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 31 of 63 PageID #:
                                   48921
Case 1:21-cv-01015-JLH              Document 656           Filed 12/04/24        Page 32 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48922
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.




                  E. Sarepta Agreements Related to VYONDYS 53

Sarepta has entered into several license agreements under which it pays royalties on sales of VYONDYS 53.
Specifically,


                I discuss agreements involving these parties below.


                         i.   UWA / Sarepta Exclusive License Agreement – November 24, 2008

In November 2008, UWA and Sarepta186 entered into an Exclusive License Agreement for certain patents
right and technical information owned by UWA.187 More specifically, UWA granted Sarepta an “exclusive,
worldwide license, with the right to grant sublicenses . . . to conduct research in the Field of Use using the
Patent Rights and the Technical Information and to develop, use, make, have made, practice, import, carry


181




186
   The named “Licensee” in this agreement is Avi BioPharma, Inc. As noted above, prior to July 2012, Sarepta was
known as AVI BioPharma, Inc (see https://investorrelations.sarepta.com/news-releases/news-release-details/avi-
biopharma-announces-corporate-name-change-sarepta; Deposition of Joseph Zenkus, dated July 25, 2023, p. 90). For
the purposes of discussing this agreement, I will use “Sarepta” to refer to Avi BioPharma, Inc.
187
                    Exclusive License Agreement between The University of Western Australia and Avi BioPharma,
Inc., dated November 24, 2008 (SRPT-VYDS-0154831-SRPT-VYDS-0154862).


HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 31 of 110
Case 1:21-cv-01015-JLH                Document 656         Filed 12/04/24        Page 33 of 63 PageID #:
United States District Court for the District of Delaware
                                                       48923
Case No. 1:21-cv-01015-GBW

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.




                                                   ***********

My report, with supporting exhibits, is contained herein, and presents a summary of my opinions and the
bases and reasons therefor as of this date. To the extent any additional information is produced by the parties
or their experts, I will be prepared to incorporate any such additional information into my report, or otherwise
to amend or supplement my report as appropriate.


This report is to be used only for the purpose of this litigation and may not be published or used for any other
purpose without prior written consent.


By:




Mark J. Hosfield
September 8, 2023

594
      Exhibit 7, Schedules 1 and 2.


HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 110 of 110
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 34 of 63 PageID #:
                                   48924




                  EXHIBIT C
Case 1:21-cv-01015-JLH         Document 656 Filed 12/04/24    Page 35 of 63 PageID #:
                                         48925




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE




NIPPON SHINYAKU CO., LTD.,

                  Plaintiff,
                                                 C.A. No. 21-1015-GBW

v.
                                                 OUTSIDE COUNSEL ONLY –
SAREPTA THERAPEUTICS, INC.,                      SUBJECT TO PROTECTIVE ORDER

                 Defendant.




SAREPTA THERAPEUTICS, INC. and THE
UNIVERSITY OF WESTERN AUSTRALIA,

        Defendant/Counter-Plaintiffs,

v.

NIPPON SHINYAKU CO., LTD. and NS
PHARMA, INC.

        Plaintiff/Counter-Defendants.




                OPENING EXPERT REPORT OF JOHN C. JAROSZ

                                     September 8, 2023
Case 1:21-cv-01015-JLH                       Document 656 Filed 12/04/24                              Page 36 of 63 PageID #:
                                                       48926
                        OUTSIDE COUNSEL ONLY – SUBJECT TO PROTECTIVE ORDER


                                           TABLE OF CONTENTS
I.   Introduction and Qualifications ..............................................................................................1
     A. Assignment ....................................................................................................................1
     B. Qualifications .................................................................................................................1
     C. Evidence Considered .....................................................................................................3
     D. Compensation ................................................................................................................4
     E. Summary of Opinions ....................................................................................................4
II. Background .............................................................................................................................5
     A. Parties .............................................................................................................................5
                  1. Counter-Plaintiffs ........................................................................................ 5
                  2. Counter-Defendants .................................................................................... 8
     B. Marketplace Overview ...................................................................................................9
                  1. Duchenne Muscular Dystrophy (DMD) ..................................................... 9
                  2. DMD Treatments ...................................................................................... 10
     C. Relevant Products ........................................................................................................17
                  1. VYONDYS 53® ........................................................................................ 17
                  2. EXONDYS 51® ........................................................................................ 19
                  3. VILTEPSO®.............................................................................................. 20
     D. Counterclaim Patents-in-Suit .......................................................................................21
                  1. ’851 Patent ................................................................................................ 25
                  2. ’590 Patent ................................................................................................ 26
                  3. ’827 Patent ................................................................................................ 26
III. Damages Framework ............................................................................................................26
IV. Alleged Infringement ............................................................................................................28
V. Lost Profits Damages Analysis .............................................................................................30
     A. Framework ...................................................................................................................30
     B. Demand for Patented Product ......................................................................................31
     C. Absence of Acceptable Non-Infringing Alternatives ..................................................34
     D. Manufacturing and Marketing Capacity to Exploit Demand .......................................35
     E. Calculation of Lost Profits from Lost Sales.................................................................37
VI. Reasonable Royalty Damages Analysis ...............................................................................42
     A. Overview ......................................................................................................................42
     B. Hypothetical Negotiation Construct ............................................................................45
                  1. Overview ................................................................................................... 45
                  2. Date of the Hypothetical Negotiation ....................................................... 47
                  3. Parties to the Negotiation .......................................................................... 48
     C. Form of Royalty ...........................................................................................................48
     D. Royalty Base ................................................................................................................50
     E. Quantitative Analysis ...................................................................................................52
                  1. Licensing Comparables Approach ............................................................ 53
                  2. Incremental Benefits Approach ................................................................ 77
                  3. Design-Around Cost Approach................................................................. 78
                  4. Summary of Quantitative Analysis ........................................................... 82
     F. Qualitative Analysis .....................................................................................................84
VII. Post-Trial Considerations .....................................................................................................97
     A. On-going Royalty.........................................................................................................97



                                                                      i
Case 1:21-cv-01015-JLH                       Document 656 Filed 12/04/24                              Page 37 of 63 PageID #:
                                                       48927
                        OUTSIDE COUNSEL ONLY – SUBJECT TO PROTECTIVE ORDER


      B. Prejudgment Interest ....................................................................................................98
      C. Enhanced Damages ......................................................................................................99
VIII. Conclusion ............................................................................................................................99




                                                                      ii
Case 1:21-cv-01015-JLH             Document 656 Filed 12/04/24                Page 38 of 63 PageID #:
                                             48928
                   OUTSIDE COUNSEL ONLY – SUBJECT TO PROTECTIVE ORDER




I.       INTRODUCTION AND QUALIFICATIONS

         A.      Assignment

         1.      I, John C. Jarosz, submit this expert report on behalf of Sarepta Therapeutics, Inc.

(“Sarepta”) and the University of Western Australia (“UWA”) (collectively, “Counter-Plaintiffs”).

I have been asked by Counsel for Counter-Plaintiffs to provide expert analysis and testimony, if

necessary, related to the appropriate remedy for the damage sustained by Counter-Plaintiffs due to

the alleged infringement by Nippon Shinyaku Co., Ltd. (“Nippon Shinyaku”) and NS Pharma, Inc.

(“NS Pharma”) (collectively, “Counter-Defendants” or “NS”) of U.S. Patent Nos. 9,994,851 (“the

’851 patent”), 10,227,590 (“the ’590 patent”), and/or 10,266,827 (“the ’827 patent”) (collectively,

“UWA Patents” or the “Counterclaim Patents-in-Suit”).1

         2.      For the purposes of this report, I have assumed that at least one asserted claim of at

least one of the Counterclaim Patents-in-Suit will be found valid, enforceable, and infringed. This

report is based on the information that was available to me as of the date of this report and

summarizes the opinions that I have formed to date. I may revise, supplement, or expand my

opinions, if necessary and allowed, based on the review and analysis of information provided to

me subsequent to the filing of this report.


         B.      Qualifications

         3.      I am a Managing Principal of Analysis Group, Inc. (“AG”) and Director of the

firm’s Washington, D.C. office. AG is an economic, financial, healthcare, and strategy consulting



1
     Defendant Sarepta Therapeutics, Inc.’s Second Amended Answer, Defenses, and Counterclaims to Plaintiff
     Nippon Shinyaku Co., Ltd.’s Second Amended Complaint, August 16, 2023, (“Counterclaims Complaint”), at
     pp. 2, 36-43.


                                                      1
Case 1:21-cv-01015-JLH               Document 656 Filed 12/04/24                 Page 39 of 63 PageID #:
                                               48929
                    OUTSIDE COUNSEL ONLY – SUBJECT TO PROTECTIVE ORDER


is no per se rule barring reference to settlements simply because they arise from litigation.”256 In

addition, according to Michael Chapman, “settlement and non-settlement licenses share a number

of fundamental similarities; the most important similarity is that both types of license are the

product of arm’s-length negotiations between independent parties pursuing their best interests

during negotiation,” and “both kinds of licenses provide useful insight into how parties in a

hypothetical negotiation would determine an adequate and fair level of compensation for

infringement of the patent-at-issue.”257


                               a. Sarepta Licenses

                                   (i)      UWA-Sarepta License Agreement (“UWA-Sarepta
                                            License”)

                                            a) 2008 Exclusive License Agreement (“UWA-Sarepta
                                               2008 License”)
          138.    On November 24, 2008, UWA and Sarepta entered into an agreement whereby

UWA granted Sarepta an exclusive, worldwide license to conduct research for the treatment of

DMD through exon skipping using the UWA Patent Rights,258 which included International PCT

Patent Application No. PCT/AU2005/000943,259 all corresponding patents and/or patent

applications in any other country, all national phases, divisions, continuations, continuations-in-

part, reissues, reexaminations, supplementary protection certifications and extensions thereof, and




256
      AstraZeneca AB v. Apotex Corp., 782 F.3d 1324, 1424 (Fed. Cir. 2015). See also Tyco Healthcare Group LP v.
      E-Z-EM, Inc., Case No. 2:07-CV-262, 2010 WL 774878, *2 (E.D. Tex. Mar. 2, 2010); ResQNet.com, Inc. v.
      Lansa, Inc., 594 F.3d 860, 873-875 (Fed. Cir. 2010); LaserDynamics, Inc. v. Quanta Comput., Inc., 694 F.3d
      51, 77 (Fed. Cir. 2012).
257
      Chapman, Michael J., “Using Settlement Licenses in Reasonable Royalty Determinations,” IDEA-The
      Intellectual Property Law Review, Vol. 49, No. 3 (2009): 313-357, at 357.
258
      UWA had previously entered into a Patent Assignment Agreement with SmithKline Beecham Corporation
      (“GSK”) in March 2006 for the Patent Rights, but as of November 24, 2008 GSK had reassigned the Patent
      Rights to UWA. SRPT-VYDS-0154831-862, at 831, 859-862.
259
      I understand that each of the Counterclaim Patents-in-Suit claim priority to PCT/AU2005/000943. See U.S.
      Patent No. 9,994,851; U.S. Patent No. 10,227,590; U.S. Patent No. 10,266,827.


                                                       55
Case 1:21-cv-01015-JLH                  Document 656 Filed 12/04/24                      Page 40 of 63 PageID #:
                                                  48930
                      OUTSIDE COUNSEL ONLY – SUBJECT TO PROTECTIVE ORDER


any patent that issues thereon.260 The agreement defined the Field of Use to cover “the treatment

of Duchenne Muscular Dystrophy by inducing the skipping of the Exons of Interest261 and/or by

skipping blocks of exons that include any or all of the Exons of Interest through the use of those

antisense sequences listed in the Patent Rights.”262 Additionally, the license included a right for

Sarepta to sublicense or assign rights consistent with the agreement.263

          139.      Under the license, Sarepta agreed to pay UWA an upfront license fee of $12,500264

and running royalties of 0.75 percent of net sales265 in the U.S. and 1.25 percent of net sales outside

of the U.S.266 Additionally, Sarepta agreed to pay UWA certain Milestone Fees associated with

corresponding Milestone Events, including $10,000 upon initiation of a Phase II Trial of Product,

$15,000 upon initiation of a Phase III Trial of Product, $20,000 upon submission of an NDA to

the FDA or equivalent in the European Union for market approval of a Product, and $30,000 upon




260
      SRPT-VYDS-0154831-862, at 831, 851, 833. See also Tab 16.
261
      Exons of Interest is defined as dystrophin exons 51, 45, 44, 53, 46, 50, 8 and/or 52. SRPT-VYDS-0154831-862,
      at 832.
262
      SRPT-VYDS-0154831-862, at 832. See also Tab 16.
263
      SRPT-VYDS-0154831-862, at 835.
264
      Sarepta also agreed to pay UWA up to $25,000 for any payment UWA made to GSK for the reassignment of
      the Patent Rights. See SRPT-VYDS-0154831-862, at 837.
265
      Net sales is defined as the total invoiced sales price received for Products less (a) sales taxes or other taxes, (b)
      actual shipping and insurance costs, (c) actual rebates, credits, or refunds for returned or defective Products, (d)
      trade discounts and quantity discounts or retroactive price reductions, (3) rebates, credits, and chargeback
      payments actually granted to managed health care organizations, wholesalers, or to federal, state/provincial,
      local and other governments, including their agencies, purchasers, and/or reimburses, or to trade customers, and
      (f) any import or export duties, tariffs, or similar charges incurred with respect to the import or export of
      Products. SRPT-VYDS-0154831-862, at 832-833. Products is defined as “any human therapeutics,
      diagnostics…bioinformatics and any other human health care products and/or services in the Field of Use
      utilizing…any of the Patent Rights or technical Information.” SRPT-VYDS-0154831-862, at 833.
266
      SRPT-VYDS-0154831-862, at 837-838. I understand that as of the UWA-Sarepta 2008 License, if the Valid
      Claims do not provide a meaningful ability for Sarepta to exclude from the marketplace other products that
      cause skipping of the same dystrophin exon, then the royalty rate shall be reduced to 0.50 percent of net sales in
      the U.S. and 0.75 percent of net sales outside of the U.S. SRPT-VYDS-0154831-862, at 838. I understand that
      this language was superseded in the 2013 Amended and Restated License and no longer applies to the current
      license terms between UWA and Sarepta.


                                                            56
Case 1:21-cv-01015-JLH               Document 656 Filed 12/04/24                   Page 41 of 63 PageID #:
                                               48931
                       OUTSIDE COUNSEL ONLY – SUBJECT TO PROTECTIVE ORDER


approval of an NDA or equivalent in the European Union allowing commercialization of the

Product.267


                                             b) 2013 Amended and Restated Exclusive License
                                                Agreement (“UWA-Sarepta 2013 Amended and
                                                Restated License”)
          140.     On April 10, 2013, UWA and Sarepta entered into an Amended and Restated

Exclusive License Agreement.268 Under the agreement, the parties expanded the prior License

Rights to define the Field of Use as “the treatment of muscular dystrophies arising from defects in

the dystrophin gene or in the transcription or translation thereof, including without limitation

Duchenne and Becker Muscular Dystrophies.”269 The 2013 Amended and Restated License

included
                 270
                       The exclusive and worldwide license allowed UWA to retain the right to conduct

non-commercial research, as well as all rights outside of the Field of Use.271

          141.     In consideration of the agreement, Sarepta agreed to pay UWA a one-time upfront
                                                                                                272
license fee of                  and a one-time fee for patent filing costs of                         Additionally,

Sarepta agreed to pay royalty fees equal to                        of net sales on a product-by-product and

country-by-country basis.273 The agreement included a Royalty Purchase clause, which stated that

Sarepta could choose to terminate its obligation to pay royalties to UWA prior to April 1,                           ,

by agreeing to pay to UWA (i) a one-time Royalty Purchase Upfront Payment of                                         ;

(ii) a one-time payment of                         the first time that net sales exceed                     in any


267
      SRPT-VYDS-0154831-862, at 839.
268
      SRPT-VYDS-0154863-889. See also Tab 16.
269
      SRPT-VYDS-0154863-889, at 863-864.
270
      Tab 16. See also SRPT-VYDS-0154863-888, at 885-887.
271
      SRPT-VYDS-0154863-889, at 866.
272
      SRPT-VYDS-0154863-889, at 870. Sarepta also agreed to pay a           license maintenance fee on each of the
      second, third and fourth anniversaries of the agreement date. SRPT-VYDS-0154863-889, at 870.
273
      SRPT-VYDS-0154863-889, at 871.


                                                        57
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 42 of 63 PageID #:
                                   48932
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 43 of 63 PageID #:
                                   48933
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 44 of 63 PageID #:
                                   48934
Case 1:21-cv-01015-JLH           Document 656 Filed 12/04/24             Page 45 of 63 PageID #:
                                           48935
                  OUTSIDE COUNSEL ONLY – SUBJECT TO PROTECTIVE ORDER


          251.   In scenario 2, reasonably royalty damages are appropriate for worldwide

VILTEPSO® sales. Those damages are
                                                                        438



          252.   My analysis only calculates U.S. lost profits and reasonable royalty damages

through April 2023 and O.U.S. reasonable royalty damages through May 2023, which is reflective

of the data available to me as of the date of this report. I will update my analysis, if allowed, to

incorporate additional data made available as of trial.

          253.   Assuming liability is established at trial, an on-going royalty may be appropriate to

compensate Sarepta for losses associated with the continued sale of VILTEPSO® between May

14, 2024 (after the expected trial date) and June 28, 2025 (the expiration of the Counterclaim

Patents-in-Suit). At the point at which an on-going royalty is deemed to be appropriate, I am

prepared to provide my opinion on what that should be.




                                                                                      John C. Jarosz
                                                                                  September 8, 2023




438
      Tab 3.


                                                 100
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 46 of 63 PageID #:
                                   48936




                  EXHIBIT D
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24            Page 47 of 63 PageID #:
                                   48937




                          UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE
                              Case No. 1:21-cv-01015-JLH
        _____________________________________________________________________


                            NIPPON SHINYAKU CO., LTD.,
                                        Plaintiff,
                                           v.
                           SAREPTA THERAPEUTICS, INC.,
                                       Defendant.
        _____________________________________________________________________


      SAREPTA THERAPEUTICS, INC. and THE UNIVERSITY OF WESTERN AUSTRALIA,
                            Defendant and Counter-Plaintiffs,
                                           v.
                  NIPPON SHINYAKU CO., LTD. and NS PHARMA, INC.,
                            Plaintiff and Counter-Defendants.
        _____________________________________________________________________


            SECOND SUPPLEMENTAL EXPERT REPORT AND DISCLOSURE OF
                                 MARK J. HOSFIELD


                              Submitted November 5, 2024

               HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
Case 1:21-cv-01015-JLH                                 Document 656                    Filed 12/04/24                  Page 48 of 63 PageID #:
                                                       48938
United States District Court for the District of Delaware
Case No. 1:21-cv-01015-JLH

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


                                                                        Table of Contents


I.         Introduction ..................................................................................................................................................1
II.        New Information Relied Upon .....................................................................................................................1
III. Updated Damages Calculations ...................................................................................................................2
      A.      Updated Lost Profits Calculation .............................................................................................................3
      B.      Updated Reasonable Royalty Calculations ..............................................................................................5
IV. Conclusion ...................................................................................................................................................6


                                                           Table of Exhibits and Appendices


Second Supplemental Exhibit 1:                                   Curriculum Vitae of Mark J. Hosfield
Second Supplemental Exhibit 2:                                   Index to Documents Considered in Forming Opinions Received
                                                                 Subsequent to April 19, 2024
Second Supplemental Exhibit 3A:                                  Lost Profits (U.S. Paid and Adjusted Free Units) and Reasonable
                                                                 Royalty Damages
Second Supplemental Exhibit 3B:                                  Lost Profits (U.S. Paid Units Only) and Reasonable Royalty
                                                                 Damages
Second Supplemental Exhibit 3C:                                  Lost Profits (U.S. Paid and Adjusted Free Units) and Reasonable
                                                                 Royalty Damages
Second Supplemental Exhibit 4:                                   Reasonable Royalty Only Damages
Second Supplemental Exhibit 5:                                   NS Pharma Incremental Profit Calculation
Second Supplemental Exhibit 6:                                   Nippon Shinyaku Profit Per Unit Calculation
Second Supplemental Exhibit 7:                                   Breach of Contract Damages [Intentionally Omitted]
Second Supplemental Exhibit 8:                                   Mr. Jarosz Overstatement of Operating Expenses Summary


Second Supplemental Appendix A:                                  VILTEPSO Sales & Profits
Second Supplemental Appendix B:                                  VYONDYS 53 Sales & Profits




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
Case 1:21-cv-01015-JLH                 Document 656        Filed 12/04/24        Page 49 of 63 PageID #:
                                                       48939
United States District Court for the District of Delaware
Case No. 1:21-cv-01015-JLH

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


I.         Introduction

I previously submitted an Expert Report and Disclosure, dated September 8, 2023 (“Opening Report”), a
Rebuttal Expert Report and Disclosure, dated October 11, 2023 (“Rebuttal Report”), Reply Expert Report and
Disclosure, dated October 27, 2023 (“Reply Report”), a Supplemental Expert Report and Disclosure, dated
April 12, 2024 (“Supplemental Report”), and a Supplemental Rebuttal Expert Report and Disclosure, dated
April 19, 2024 (“Supplemental Rebuttal Report”) for the above-referenced matter. The purpose of this
Second Supplemental Report is to update my lost profits and reasonable royalty damages calculations related
to Nippon Shinyaku’s claims against Sarepta to reflect supplemental financial information produced by the
parties, and to estimate my damages calculations through the start of trial in this matter. I incorporate my
prior reports by reference as part of this Second Supplemental Report.


II.        New Information Relied Upon

My opinions are based upon information available to me as of the date of this Second Supplemental Report.
My prior reports identify information considered as of those report dates. Since that time, I have considered
additional materials including any materials cited herein as well as those materials identified in Second
Supplemental Exhibit 2 to this report. The table below summarizes certain documents used for the
calculations contained in my prior reports as well as the new versions of those documents which I have used
to update my calculations:1




1
    In addition to these documents, I have reviewed




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 1 of 10
Case 1:21-cv-01015-JLH              Document 656           Filed 12/04/24        Page 50 of 63 PageID #:
                                                       48940
United States District Court for the District of Delaware
Case No. 1:21-cv-01015-JLH

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


                                                   ***********

My Second Supplemental Report, with supporting exhibits, is contained herein, and along with my prior
reports, presents a summary of my opinions and the bases and reasons therefor as of this date. To the extent
any additional information is produced by the parties or their experts, I will be prepared to incorporate any
such additional information into my reports, or otherwise to amend or supplement my reports as appropriate.


This report is to be used only for the purpose of this litigation and may not be published or used for any other
purpose without prior written consent.


By:




Mark J. Hosfield
November 5, 2024




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 10 of 10
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 51 of 63 PageID #:
                                   48941




                  EXHIBIT E
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24            Page 52 of 63 PageID #:
                                   48942




                          UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE
                              Case No. 1:21-cv-01015-JLH
        _____________________________________________________________________


                            NIPPON SHINYAKU CO., LTD.,
                                        Plaintiff,
                                           v.
                           SAREPTA THERAPEUTICS, INC.,
                                       Defendant.
        _____________________________________________________________________


      SAREPTA THERAPEUTICS, INC. and THE UNIVERSITY OF WESTERN AUSTRALIA,
                            Defendant and Counter-Plaintiffs,
                                           v.
                  NIPPON SHINYAKU CO., LTD. and NS PHARMA, INC.,
                            Plaintiff and Counter-Defendants.
        _____________________________________________________________________


       SECOND SUPPLEMENTAL REBUTTAL EXPERT REPORT AND DISCLOSURE OF
                                 MARK J. HOSFIELD


                              Submitted November 12, 2024

               HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
Case 1:21-cv-01015-JLH                             Document 656                  Filed 12/04/24                 Page 53 of 63 PageID #:
                                                       48943
United States District Court for the District of Delaware
Case No. 1:21-cv-01015-JLH

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


                                                                   Table of Contents


I.         New Information Relied Upon .....................................................................................................................2
II.        Updated Damages Calculations ...................................................................................................................3
      A.      Updated Lost Profits Calculations ...........................................................................................................5
      B.      Updated Reasonable Royalty Calculations ..............................................................................................9
III. Prejudgment Interest ..................................................................................................................................11
IV. Conclusion .................................................................................................................................................11
V.         Commercial Success of the NS Patents-In-Suit .........................................................................................19


                                                                   Table of Exhibits


Second Supplemental Rebuttal Exhibit 1:                                 Curriculum Vitae of Mark J. Hosfield
Second Supplemental Rebuttal Exhibit 2:                                 Index to Documents Considered in Forming Opinions
                                                                        Received Subsequent to November 5, 2024
Second Supplemental Rebuttal Exhibit 3:                                 Lost Profits and Reasonable Royalty Damages
Second Supplemental Rebuttal Exhibit 4:                                 Reasonable Royalty Only Damages
Second Supplemental Rebuttal Exhibit 5:                                 Recreated Jarosz Regression




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                                                                Page 1 of 21
Case 1:21-cv-01015-JLH              Document 656             Filed 12/04/24      Page 54 of 63 PageID #:
                                                       48944
United States District Court for the District of Delaware
Case No. 1:21-cv-01015-JLH

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


I previously submitted an Expert Report and Disclosure, dated September 8, 2023 (“Opening Report”), a
Rebuttal Expert Report and Disclosure, dated October 11, 2023 (“Rebuttal Report”), Reply Expert Report and
Disclosure, dated October 27, 2023 (“Reply Report”), a Supplemental Expert Report and Disclosure, dated
April 12, 2024 (“Supplemental Report”), a Supplemental Rebuttal Expert Report and Disclosure, dated April
19, 2024 (“Supplemental Rebuttal Report”), and a Second Supplemental Expert Report and Disclosure, dated
November 5, 2024 for the above-referenced matter (“Second Supplemental Report”). The purpose of this
Second Supplemental Rebuttal Report is to update my lost profits and reasonable royalty damages
calculations related to Sarepta’s and UWA’s claims against Nippon Shinyaku and NS Pharma to reflect
supplemental financial information and additional documents produced by the parties, as well as update the
numerical basis underlying my opinions regarding the commercial success of the NS patents-in-suit. I
incorporate my prior reports by reference as part of this Second Supplemental Rebuttal Report.


I.       New Information Relied Upon

My opinions are based upon information available to me as of the date of this Second Supplemental Rebuttal
Report. My prior reports identify information considered as of those report dates. Since that time, I have
considered additional materials including any materials cited herein as well as those materials identified in
Supplemental Rebuttal Exhibit 2 to this report. In addition to considering the supplemental financial
information, I have been asked to perform alternative calculations based on the following recently produced
                                                         :
     •




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 2 of 21
Case 1:21-cv-01015-JLH              Document 656           Filed 12/04/24        Page 55 of 63 PageID #:
                                                       48945
United States District Court for the District of Delaware
Case No. 1:21-cv-01015-JLH

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.



      •




Since the date of my Second Supplemental Report, I have also reviewed the Second Supplemental Opening
Expert Report of Mr. Jarosz, dated November 5, 2024.


II.       Updated Damages Calculations

In my Supplemental Rebuttal Report, I calculated Sarepta’s/UWA’s potential damages for the period of
August 19, 2020 through February 2024 based on data produced by the parties, as well as extended those
calculations through May 13, 2024 to be consistent with Mr. Jarosz’s inclusion of estimated sales for the time
period of March 1, 2024 through May 13, 2024.1 In this report, I have updated my damages calculations to
extend through August 31, 2024 based on newly produced data from the parties, and I have extended my
damages calculations through December 15, 2024 to be consistent with Mr. Jarosz’s additional estimated (not
actual) sales for September 1, 2024 through December 15, 2024.2


I have also been asked to prepare an additional damages calculation based on




1
 Supplemental Rebuttal Expert Report and Disclosure of Mark J. Hosfield, dated April 19, 2024, p. 2, Supplemental
Rebuttal Exhibit 3, Schedule 1, and Supplemental Rebuttal Exhibit 4.
2
 As discussed further below, I have also extended my damages calculations through December 16, 2024 to be consistent
with my damages calculations for Nippon Shinyaku as shown in my Second Supplemental Report.


HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 3 of 21
Case 1:21-cv-01015-JLH                Document 656          Filed 12/04/24        Page 56 of 63 PageID #:
                                                       48946
United States District Court for the District of Delaware
Case No. 1:21-cv-01015-JLH

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.




                                                                .


Mr. Jarosz “ha[s] been asked to update [his] opinions regarding the appropriate damages owed by NS to
[Sarepta/UWA], assuming liability is established at trial. Specifically, [he] ha[s] been asked to and did update
[his] damages calculations to account for the full period August 2020 through December 15, 2024 for U.S.
sales, and January 2022 through December 15, 2024 for O.U.S. sales of VILTEPSO[],”5 based on
supplemental financial information from the parties including actual data through August 31, 2024 and
estimates for the time period of September 1, 2024 through December 15, 2024.


Thus, “[s]upplementing [his] damages analysis to account for the updated data, [Mr. Jarosz] find[s] that in
scenario 1, lost profits damages are




For scenario 2, Mr. Jarosz’s “reasonable royalty damages are




Mr. Jarosz has also prepared alternative damages calculations assuming that




3




4
 Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.’s Letter Brief Regarding Late Produced Licensing and No Lost
Profits, dated May 7, 2024, pp. 2-3.
5
    Second Supplemental Opening Expert Report of John C. Jarosz, dated November 5, 2024, p. 2.
6
    Second Supplemental Opening Expert Report of John C. Jarosz, dated November 5, 2024, p. 3.
7
    Second Supplemental Opening Expert Report of John C. Jarosz, dated November 5, 2024, p. 3.


HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 4 of 21
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 57 of 63 PageID #:
                                   48947
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 58 of 63 PageID #:
                                   48948
Case 1:21-cv-01015-JLH   Document 656 Filed 12/04/24   Page 59 of 63 PageID #:
                                   48949
Case 1:21-cv-01015-JLH                Document 656          Filed 12/04/24        Page 60 of 63 PageID #:
                                                       48950
United States District Court for the District of Delaware
Case No. 1:21-cv-01015-JLH

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.




51
     Second Supplemental Rebuttal Exhibit 4.
52
     Second Supplemental Rebuttal Exhibit 4.




53
     Second Supplemental Rebuttal Exhibit 3, Schedule 1 and Second Supplemental Rebuttal Exhibit 4.


HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 17 of 21
Case 1:21-cv-01015-JLH                Document 656          Filed 12/04/24        Page 61 of 63 PageID #:
                                                       48951
United States District Court for the District of Delaware
Case No. 1:21-cv-01015-JLH

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.




54
     Second Supplemental Rebuttal Exhibit 3, Schedule 1 and Second Supplemental Rebuttal Exhibit 4.




55
     Second Supplemental Rebuttal Exhibit 3, Schedule 1 and Second Supplemental Rebuttal Exhibit 4.


HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 18 of 21
Case 1:21-cv-01015-JLH                 Document 656           Filed 12/04/24         Page 62 of 63 PageID #:
                                                       48952
United States District Court for the District of Delaware
Case No. 1:21-cv-01015-JLH

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.




V.         Commercial Success of the NS Patents-In-Suit

Additionally, as discussed in my Rebuttal Report,
                    I further understand that, in order for evidence of commercial success to be
                    relevant to the issue of obviousness, a patent owner seeking to rely on these
                    considerations to argue non-obviousness must show a nexus between the
                    claimed invention and the evidence of commercial success.[] I also
                    understand that this nexus may be inferred, but only when ‘the patentee
                    shows both that there is commercial success, and that the thing . . . that is
                    commercially successful is the invention claimed and disclosed in the
                    patent.’[] I further understand that commercial success is relevant to the
                    obviousness inquiry because, presumably, the ‘idea would successfully have
                    been brought to market sooner, in response to market forces, had the idea
                    been obvious to persons skilled in the art.’[]57

After considering the supplemental financial information, my opinions regarding the commercial success of
the NS patents-in-suit remains the same and are further supported based on the following updated financial
information relating to the sales of VYONDYS 53 which admittedly practice the NS patents-in-suit:58



56
     Second Supplemental Rebuttal Exhibit 3, Schedule 1 and Second Supplemental Rebuttal Exhibit 4.




                                   .
57
     Rebuttal Expert Report and Disclosure of Mark J. Hosfield, dated October 11, 2023, p. 42.
58
  I note that Nippon Shinyaku’s Motion for Partial Summary Judgment on the issue of infringement of the NS patents-
in-suit was granted in view of Sarepta’s stipulation to infringement (see Email Re: Activity in Case 1:21-cv-01015-JLH
Nippon Shinyaku, Ltd. v. Sarepta Therapeutics, Inc. Order on Motion for Partial Summary Judgment, dated May 1,
2024).


HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                          Page 19 of 21
Case 1:21-cv-01015-JLH              Document 656           Filed 12/04/24        Page 63 of 63 PageID #:
                                                       48953
United States District Court for the District of Delaware
Case No. 1:21-cv-01015-JLH

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.
Sarepta Therapeutics, Inc. and The University of Western Australia v. Nippon Shinyaku Co., Ltd. and NS Pharma, Inc.


This report is to be used only for the purpose of this litigation and may not be published or used for any other
purpose without prior written consent.


By:




Mark J. Hosfield
November 12, 2024




HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY                                                        Page 21 of 21
